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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

  JOEY KIMBROUGH,

                 Plaintiff,
                                                        Civil Action No. 1:22-cv-01217-SEB-DML
         v.

  SNAP-ON CREDIT, LLC, EXPERIAN
  INFORMATION SOLUTIONS, INC., and
  EQUIFAX INFORMATION SERVICES, LLC,

                 Defendants.

       [PROPOSED] ORDER GRANTING MOTION TO APPEAR PRO HAC VICE

        This cause has come before the Court upon the motion of Bo Alexander Stewart of the

 law firm Jones Day, seeking an Order granting Bo Alexander Stewart of Jones Day, leave to

 appear pro hac vice for the purpose of appearing as counsel on behalf of Defendant Experian

 Information Solutions, Inc. in the above-styled cause only. Being fully advised, it is now

 ORDERED that the motion be, and hereby is, GRANTED.

                   Applicant’s contact information should be entered as follows:
                               Bo Alexander Stewart (PA #326089)
                                             Jones Day
                                   500 Grant Street, Suite 4500
                                       Pittsburgh, PA 15219
                                      Phone: (412) 394-9510
                                        Fax: (412) 394-7959
                                     bstewart@jonesday.com
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 Dated: ____________                            ________________________
                                                Judge
                                                United States District Court
                                                Southern District of Indiana




 Service will be made electronically on all
 ECF-registered counsel of record via email
 generated by the court’s ECF system.

 Service on the listed individual below will
 be made in the traditional paper manner, via
 first-class U. S. Mail:

 Joey Kimbrough, Plaintiff
 1712 Candy Court South
 Kokomo, IN 46902
